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Analyzed Business Checking
Account number:            4006   ■   June 11, 2019 - June 30, 2019     ■   Page 1 of 6




                                                                                     Questions?
                                                                                     Available by phone 24 hours a day, 7 days a week:
                                                                                      1-800-CALL-WELLS (1-800-225-5935)

SEVEN STARS ON THE HUDSON CORP                                                       Online: wellsfargo.com
DBA ROCKIN'JUMP FORT LAUDERDALE
                                                                                     Write: Wells Fargo Bank, N.A. (287)
DEBTOR IN POSSESSION                                                                        P.O. Box 6995
CH11 CASE #19-17544 (SFL)                                                                   Portland, OR 97228-6995
2108 NE 63RD ST
FORT LAUDERDALE FL 33308-1303




Account summary
Analyzed Business Checking
Account number               Beginning balance                 Total credits                      Total debits             Ending balance
      4006                               $0.00                 $154,377.38                      -$115,482.65                  $38,894.73


Interest summary
 Annual percentage yield earned this period                      0.05%
 Interest earned during this period                             $0.89
 Year to date interest and bonuses paid                         $0.89



Credits
 Deposits
 Effective     Posted
 date          date                     Amount     Transaction detail
               06/11                  47,118.93    Deposit
                                  $47,118.93       Total deposits

 Electronic deposits/bank credits
 Effective     Posted
 date          date                     Amount     Transaction detail
               06/11                  13,010.00    eDeposit IN Branch/Store 06/11/19 01:15:27 PM 4875 N Federal Hwy Fort
                                                   Lauderdale FL 4006
               06/11                      80.00    Deposit Made In A Branch/Store
               06/12                       9.00    eDeposit IN Branch/Store 06/12/19 12:15:10 PM 3300 N Federal Hwy Fort
                                                   Lauderdale FL 4892
               06/13                  33,335.67    eDeposit IN Branch/Store 06/13/19 09:23:24 Am 4875 N Federal Hwy Fort
                                                   Lauderdale FL 4892
               06/14                    618.48     5/3 Bankcard Sys Comb. Dep. 061319 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/14                    403.00     eDeposit IN Branch/Store 06/14/19 01:02:21 PM 6400 N Andrews Ave Fort
                                                   Lauderdale FL 4892




    (287)
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 Electronic deposits/bank credits (continued)
 Effective     Posted
 date          date                    Amount      Transaction detail
               06/14                    990.00     eDeposit IN Branch/Store 06/14/19 01:03:51 PM 6400 N Andrews Ave Fort
                                                   Lauderdale FL 4892
               06/14                    485.00     eDeposit IN Branch/Store 06/14/19 01:05:17 PM 6400 N Andrews Ave Fort
                                                   Lauderdale FL 4892
               06/14                    575.00     eDeposit IN Branch/Store 06/14/19 01:06:34 PM 6400 N Andrews Ave Fort
                                                   Lauderdale FL 4892
               06/14                    667.18     eDeposit IN Branch/Store 06/14/19 01:22:01 PM 6400 N Andrews Ave Fort
                                                   Lauderdale FL 4892
               06/17                    203.00     ATM Cash Deposit on 06/15 6245 North Federal Highwa Ft Lauderdale FL
                                                   0001321 ATM ID 0791A Card 4892
               06/17                  1,164.00     ATM Cash Deposit on 06/16 6400 North Andrews Ave Ft Lauderdale FL
                                                   0001485 ATM ID 6549F Card 4892
               06/17                    200.00     ATM Cash Deposit on 06/16 6400 North Andrews Ave Ft Lauderdale FL
                                                   0001486 ATM ID 6549F Card 4892
               06/17                  1,839.86     5/3 Bankcard Sys Comb. Dep. 061419 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/17                  2,892.46     5/3 Bankcard Sys Comb. Dep. 061519 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/17                  5,531.28     5/3 Bankcard Sys Comb. Dep. 061619 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/17                  2,744.00     eDeposit IN Branch/Store 06/17/19 10:07:30 Am 6400 N Andrews Ave Fort
                                                   Lauderdale FL 4892
               06/17                    713.63     ATM Check Deposit on 06/17 4491 S. State Rd. 7 Davie FL 0001182 ATM ID
                                                   0334O Card 4892
               06/18                  4,949.84     5/3 Bankcard Sys Comb. Dep. 061719 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/18                  1,101.00     eDeposit IN Branch/Store 06/18/19 11:45:02 Am 6400 N Andrews Ave Fort
                                                   Lauderdale FL 4892
               06/19                  2,739.37     Grpn Merch Svcs N300044159 190617 C300044159P1078 Rockin Jump Ft
                                                   Lauderd
               06/19                  2,848.83     5/3 Bankcard Sys Comb. Dep. 061819 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/19                    196.00     ATM Cash Deposit on 06/19 5830 South University Dr. Davie FL 0003586 ATM
                                                   ID 9859P Card 4892
               06/20                  1,846.82     5/3 Bankcard Sys Comb. Dep. 061919 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/20                    592.00     eDeposit IN Branch/Store 06/20/19 10:33:28 Am 6400 N Andrews Ave Fort
                                                   Lauderdale FL 4892
               06/21                  1,668.70     5/3 Bankcard Sys Comb. Dep. 062019 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/21                    312.00     eDeposit IN Branch/Store 06/21/19 12:39:24 PM 2200 W Atlantic Blvd
                                                   Pompano Beach FL 4006
               06/24                     39.77     5/3 Bankcard Sys Comb. Dep. 062219 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/24                  1,453.51     5/3 Bankcard Sys Comb. Dep. 062119 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564




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 Electronic deposits/bank credits (continued)
 Effective     Posted
 date          date                     Amount     Transaction detail
               06/24                   3,585.93    5/3 Bankcard Sys Comb. Dep. 062319 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/24                   5,438.23    5/3 Bankcard Sys Comb. Dep. 062319 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/24                    950.00     eDeposit IN Branch/Store 06/24/19 11:21:25 Am 4875 N Federal Hwy Fort
                                                   Lauderdale FL 4892
               06/24                   1,625.00    eDeposit IN Branch/Store 06/24/19 11:23:17 Am 4875 N Federal Hwy Fort
                                                   Lauderdale FL 4892
               06/24                   2,031.04    eDeposit IN Branch/Store 06/24/19 02:13:34 PM 6245 N Federal Hwy Fort
                                                   Lauderdale FL 4892
               06/25                   3,888.36    5/3 Bankcard Sys Comb. Dep. 062419 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/26                   2,034.64    5/3 Bankcard Sys Comb. Dep. 062519 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/26                      0.01     Square Inc Sdv-Vrfy 190626 T200130519882 Seven Stars on The Hud
               06/26                    203.00     eDeposit IN Branch/Store 06/26/19 09:53:18 Am 6245 N Federal Hwy Fort
                                                   Lauderdale FL 4892
               06/26                   1,378.00    eDeposit IN Branch/Store 06/26/19 09:57:06 Am 6245 N Federal Hwy Fort
                                                   Lauderdale FL 4892
               06/27                   1,503.53    5/3 Bankcard Sys Comb. Dep. 062619 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/28                      0.89     Interest Payment
               06/28                    881.42     5/3 Bankcard Sys Comb. Dep. 062719 4445021768564 Mercury Comb. Dep.
                                                   Term 45021768564
               06/28                    529.00     eDeposit IN Branch/Store 06/28/19 02:09:38 PM 2200 W Atlantic Blvd
                                                   Pompano Beach FL 4892
                                  $107,258.45      Total electronic deposits/bank credits

                                  $154,377.38      Total credits



Debits
 Electronic debits/bank debits
 Effective     Posted
 date          date                    Amount      Transaction detail
               06/12                     9.00      Cash eWithdrawal in Branch/Store 06/12/2019 12:10 PM 3300 N Federal Hwy
                                                   Fort Lauderdale FL 4892
               06/12                  33,335.67    Withdrawal Made In A Branch/Store
               06/13                      30.00    Wire Trans Svc Charge - Sequence: 190613049486 Srf# 0066048164848510
                                                   Trn#190613049486 Rfb#
               06/13                       3.35    Purchase authorized on 06/12 Parking (Verrus) Fort Lauderda FL
                                                   S389163492683503 Card 4892
               06/13                  26,668.54    Withdrawal Made In A Branch/Store
               06/13                  11,006.68    WT Fed#04665 First Interstate B /Ftr/Bnf=Avitus Inc Srf# 0066048164848510
                                                   Trn#190613049486 Rfb#
               06/13                       8.55    Purchase authorized on 06/13 Office Depot 00 6325 Nort Fort Lauderda FL
                                                   P00589164579668317 Card 4892




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 Electronic debits/bank debits (continued)
 Effective     Posted
 date          date                    Amount    Transaction detail
               06/14                    193.95   Purchase authorized on 06/13 Lzc* Legalzoom.Com 866-6980053 CA
                                                 S469164370796175 Card 4892
               06/14                     49.20   Purchase authorized on 06/14 Bjs Wholesale #0 5100 NW Ft Lauderdale FL
                                                 P00389165655049938 Card 4892
               06/17                    801.25   Purchase authorized on 06/14 Callcap 316-858-5990 KS S589165580097875
                                                 Card 4819
               06/17                     73.17   Purchase authorized on 06/14 Office Depot #371 800-463-3768 FL
                                                 S389165724212013 Card 4819
               06/17                     55.99   Recurring Payment authorized on 06/15 IN *Xobee Networks 559-5791400
                                                 CA S309166345644903 Card 4892
               06/17                    184.01   Bill Pay Kerri Accountant on-Line No Account Number on 06-17
               06/17                    131.78   Purchase authorized on 06/15 Xtreme Action Park Fort Lauderda FL
                                                 S309166609810409 Card 4819
               06/18                    254.89   Harland Clarke Check/Acc. 061719 00660487575482 Seven Stars on The Hud
               06/18                     55.00   Purchase authorized on 06/18 USPS PO 11305602 3350 NE Oakland Park FL
                                                 P00469169672273376 Card 4892
               06/18                  4,561.22 < Business to Business ACH Debit - Fla Dept Revenue C01 81074433 Rockin
                                                 Jump Fo
               06/19                     53.98   Purchase authorized on 06/18 Amzn Mktp US*M61Yx Amzn.Com/Bill WA
                                                 S589169602693753 Card 4892
               06/19                    203.51   Recurring Payment authorized on 06/18 ATT*Bus Phone Pmt 800-288-2020
                                                 TX S309169714990493 Card 4892
               06/19                  2,294.51   Fpl Direct Debit Elec Pymt 06/19 0328780135 Webi Rockin Jump Fort Laude
               06/20                     14.99   Recurring Payment authorized on 06/18 Adobe *Acropro Sub 800-833-6687
                                                 CA S389169581832728 Card 4892
               06/20                      6.48   Purchase authorized on 06/18 Amzn Mktp US*M66Pj Amzn.Com/Bill WA
                                                 S469169599902845 Card 4892
               06/20                     30.43   Purchase authorized on 06/19 Cha-Baa Sushi Cate Fort Lauderda FL
                                                 S469170619762753 Card 4819
               06/20                     58.18   Purchase authorized on 06/19 Amzn Mktp US*M69Hv Amzn.Com/Bill WA
                                                 S389170705977636 Card 4892
               06/20                      7.69   Purchase authorized on 06/20 Office Depot 00 6325 Nort Fort Lauderda FL
                                                 P00589171530323095 Card 4892
               06/21                      8.55   Purchase authorized on 06/19 Amzn Mktp US*M61Kb Amzn.Com/Bill WA
                                                 S389170706132396 Card 4892
               06/21                     54.60   Recurring Payment authorized on 06/20 Humanity 415-230-0108 CA
                                                 S389171432453816 Card 4892
               06/21                  2,168.74   Purchase authorized on 06/20 Staples Promotiona Overland Park KS
                                                 S589171541303841 Card 4892
               06/21                    164.08   Purchase authorized on 06/21 WM Superc Wal-Mart Sup Pompano FL
                                                 P00000000571413807 Card 4892
               06/24                    185.90   Purchase authorized on 06/20 Amzn Mktp US*MH7Yr Amzn.Com/Bill WA
                                                 S309172219162720 Card 4892
               06/24                    148.18   Purchase authorized on 06/21 Restaurant Depot Pompano Beach FL
                                                 S589172368380068 Card 4892
               06/24                     41.24   Purchase authorized on 06/21 Xtreme Action Park Fort Lauderda FL
                                                 S469172708370839 Card 4819




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 Electronic debits/bank debits (continued)
 Effective     Posted
 date          date                           Amount          Transaction detail
               06/24                           453.11         Purchase authorized on 06/22 Xtreme Action Park Fort Lauderda FL
                                                              S389173597506506 Card 4819
               06/24                             45.02        Purchase authorized on 06/22 WM Superc Wal-Mart Sup Pompano FL
                                                              P00000000375687180 Card 4892
               06/24                             96.90        Purchase authorized on 06/23 Xtreme Action Park Fort Lauderda FL
                                                              S469174582328398 Card 4819
               06/24                             14.97        Purchase authorized on 06/24 Bjs Wholesale #0 5100 NW Ft Lauderdale FL
                                                              P00589175540775214 Card 4892
               06/26                             13.08        Purchase authorized on 06/21 Amzn Mktp US*M6444 Amzn.Com/Bill WA
                                                              S389172493506642 Card 4892
               06/26                               0.01       Square Inc Sdv-Vrfy 190626 T200130519883 Seven Stars on The Hud
               06/27                               6.26       Purchase authorized on 06/25 Xtreme Action Park Fort Lauderda FL
                                                              S469176698404014 Card 4892
               06/27                           205.08         Purchase authorized on 06/26 Waste Pro of FL- 1 305-651-7011 FL
                                                              S309177582340525 Card 4892
               06/28                             30.00        Wire Trans Svc Charge - Sequence: 190628062630 Srf# 0066048179432961
                                                              Trn#190628062630 Rfb#
               06/28                             35.98        Purchase authorized on 06/23 Amzn Mktp US*M64Hh Amzn.Com/Bill WA
                                                              S589175146054453 Card 4819
               06/28                           207.55         Bill Pay Kerri Accountant on-Line No Account Number on 06-28
               06/28                        18,868.64         WT Fed#06570 First Interstate B /Ftr/Bnf=Avitus, Inc. DBA Avitus Group Srf#
                                                              0066048179432961 Trn#190628062630 Rfb#
               06/28                           142.74         Purchase authorized on 06/28 WM Superc Wal-Mart Sup Pompano FL
                                                              P00000000181450826 Card 4892
                                       $102,982.65            Total electronic debits/bank debits
 < Business to Business ACH:If this is a business account, this transaction has a return time frame of one business day from post date. This time frame does not
 apply to consumer accounts.

 Checks paid
 Number                      Amount        Date
 1001                      12,500.00      06/21
                                         $12,500.00           Total checks paid

                                       $115,482.65            Total debits



Daily ledger balance summary
 Date                                     Balance         Date                                    Balance       Date                                      Balance
 06/11                                  60,208.93         06/18                                 41,209.08       06/25                                   51,873.58
 06/12                                  26,873.26         06/19                                 44,441.28       06/26                                   55,476.14
 06/13                                  22,491.81         06/20                                 46,762.33       06/27                                   56,768.33
 06/14                                  25,987.32         06/21                                 33,847.06       06/28                                   38,894.73
 06/17                                  40,029.35         06/24                                 47,985.22
               Average daily ledger balance                   $0.00




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           IMPORTANT ACCOUNT INFORMATION

Effective August 19, 2019, there will be changes to Service fees for Overdraft and Returned Items.

We may assess an overdraft fee for any item we pay into overdraft, and we may assess a returned item fee for any item returned
unpaid. We limit our overdraft and/or returned item fees to eight (8) per business day. We will not assess an overdraft or Non-Sufficient
Funds/NSF fee on items of $5 or less. If both your ending daily account balance and available balance are overdrawn by $5 or less after
we have processed all of your transactions, we will not assess an overdraft fee on the items. No overdraft fee will be assessed on ATM
and every day (one-time) debit card transactions unless Debit Card Overdraft Service is added to your account.




NOTICE: Wells Fargo Bank, N.A. may furnish information about accounts belonging to individuals, including sole
proprietorships, to consumer reporting agencies. If this applies to you, you have the right to dispute the accuracy of
information that we have reported by writing to us at: Overdraft Collections and Recovery PO Box 5058 Portland, OR.
97208-5058. You must describe the specific information that is inaccurate or in dispute and the basis for any dispute with
supporting documentation. In the case of information that relates to an identity theft, you will need to provide us with an
identity theft report.




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